

Matter of Jelks v Wright (2017 NY Slip Op 07839)





Matter of Jelks v Wright


2017 NY Slip Op 07839


Decided on November 9, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 9, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CARNI, CURRAN, AND WINSLOW, JJ.


1214 CAF 16-00861

[*1]IN THE MATTER OF MELVIN JELKS, PETITIONER-RESPONDENT,
vKIM WRIGHT, RESPONDENT-APPELLANT. (APPEAL NO. 2.) 






BERNADETTE M. HOPPE, BUFFALO, FOR RESPONDENT-APPELLANT.
THOMAS R. LOCHNER, WILLIAMSVILLE, FOR PETITIONER-RESPONDENT.
JOSEPH BANIA, ATTORNEY FOR THE CHILD, BUFFALO. 


	Appeal from an order of the Family Court, Erie County (Deanne M. Tripi, J.), entered May 9, 2016 in a proceeding pursuant to Family Court Act article 6. The order, among other things, adjudged that respondent willfully violated a prior court order. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs for reasons stated in the decision at Family Court.
Entered: November 9, 2017
Mark W. Bennett
Clerk of the Court








